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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

MARION DIAGNOSTIC CENTER, LLC;
MARION HEALTHCARE, LLC; and
ANDRON MEDICAL ASSOCIATES,
individually and on behalf of all others
similarly situated,

                    Plaintiffs,

      v.                                   Case No. 3:18-CV-01059-NJR-RJD

BECTON, DICKINSON, AND COMPANY;
PREMIER, INC.;
VIZIENT, INC.;
CARDINAL HEALTH, INC.
OWENS & MINOR DISTRIBUTION INC.;
MCKESSON MEDICAL-SURGICAL INC.;
HENRY SCHEIN, INC.; and
UNNAMED BECTON DISTRIBUTOR
CO-CONSPIRATORS,

                    Defendants.

            THE DISTRIBUTOR DEFENDANTS’ MOTION TO DISMISS
                     AND MEMORANDUM IN SUPPORT
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                                          INTRODUCTION

           Plaintiffs’ liberal use of antitrust jargon and undifferentiated allegations of conduct

attributed to all “defendants” collectively cannot save their Complaint from the self-defeating facts

alleged as to the Distributors. 1 Those dispositive facts, which Plaintiffs attempt to camouflage,

are:

       •   Healthcare providers, such as Plaintiffs, can voluntarily join one or more group purchasing
           organizations (“GPOs”) that act as representatives of their provider-members to negotiate
           contracts on their behalf for medical supplies with manufacturers, such as Becton,
           Dickinson and Company (“BD”). Compl. ¶¶ 2, 30.

       •   The GPOs, on behalf of providers, negotiate the terms of their agreement with BD—
           including the prices at which providers acquire BD products and any alleged “[s]ole
           sourcing” and “[d]isloyalty penalty” provisions—before a provider chooses a Distributor.
           Id. ¶¶ 2, 29-31, 41-45.

       •   The GPO agreements are not the only way a provider can buy products from BD or another
           supplier—the Complaint alleges that providers can buy “outside of the GPO system.” Id.
           ¶ 51.

       •   The Distributors do not set the prices at which providers acquire BD supplies or any of the
           related terms. Id. ¶¶ 2, 31. Rather, the Distributor that each provider chooses is simply
           authorized to “resell the relevant Becton products directly to healthcare providers [such as
           Plaintiffs] pursuant to terms negotiated by [them or] the GPOs” and “deliver” these
           products to the buyer. Id. ¶¶ 31, 44. In other words, Distributors merely agree to honor
           the agreements that Plaintiffs and other providers negotiate with the manufacturer, directly
           or through a GPO.

           No amount of creative labeling can transform those facts into an actionable conspiracy. A

federal court recently faced with substantially similar allegations regarding the same products and

many of the same companies held that the healthcare provider plaintiffs did not sufficiently allege


       1
        “Complaint” refers to the Amended Complaint. ECF No. 52. The “Distributor”
defendants are Cardinal Health, Inc. (“CHI”), Owens & Minor Distribution Inc. (“O&M”),
McKesson Medical-Surgical, Inc., and Henry Schein, Inc. CHI is a holding company that does not
engage in the distribution of medical supplies, and it appears that Cardinal Health 200, LLC, is the
proper Cardinal Health defendant. Plaintiffs and CHI conferred about this issue, and Plaintiffs
stated that they do not object to CHI reserving its rights as to this issue in this motion to dismiss.
Plaintiffs and CHI further agreed to meet and confer on this issue after any motions to dismiss are
resolved, if necessary.
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a vertical conspiracy by distributors to maintain BD’s market power. Glynn-Brunswick Hosp.

Auth. v. Becton, Dickinson & Co., 159 F. Supp. 3d 1361, 1376 (S.D. Ga. 2016). That same result

is mandated here for reasons discussed in BD’s brief. In addition, the Glynn-Brunswick court’s

analysis demonstrates that Plaintiffs have not alleged (and cannot allege) plausible facts pleading

a “conscious commitment to a common scheme designed to achieve an unlawful objective,” as

required to show that the Distributors joined an unlawful conspiracy. Monsanto Co. v. Spray-Rite

Serv. Corp., 465 U.S. 752, 768 (1984). As the court that faced the prior alleged “vertical

conspiracy” regarding these products, parties, and contracts explained, the alleged facts disprove

any such conscious commitment by the Distributors because the “Complaint demonstrates, and

expressly acknowledges, that the contracts linking [BD], the distributor, and the provider are

essentially negotiated between [BD] and the GPO, not the distributor.” Glynn-Brunswick, 159 F.

Supp. 3d at 1376. Indeed, Plaintiffs expressly plead that Distributors have no effect on the prices

and other contract terms that BD can negotiate with GPOs or providers because the Distributors

have nothing to do with that process. Compl. ¶¶ 31, 42-45. And all the (illusory) anticompetitive

effects about which Plaintiffs complain allegedly flow from those contracts. In other words, if the

Distributors did not exist, absolutely nothing of consequence to providers would change. They

would face the same contract terms. Plaintiffs simply have no legitimate basis to involve the

Distributors in this case.

        But they have nonetheless named the Distributors for the singular purpose of attempting to

paper over the defects in this previously-rejected claim by purporting to allege a single, unified

“vertical conspiracy” among BD, the GPOs, and the Distributors. Id.¶¶ 3-4, 6, 89. Their theory,

however, rests on a fundamental legal infirmity: the singular “vertical conspiracy” alleged does

not exist as a matter of law. That is because where, as here, a single “vertical conspiracy” is alleged



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to include horizontally-situated competitors—the four Distributors and the two GPOs—the

complaint must also allege a horizontal agreement among those competitors to be legally

cognizable. This is known as a hub-and-spoke conspiracy. Long-settled conspiracy law provides

that “[f]or a hub and spoke conspiracy to function as a single unit, a rim must connect the spokes

together, for otherwise the conspiracy is not one but many.” United States v. Bustamante, 493

F.3d 879, 885 (7th Cir. 2007); see also R.J. Reynolds Tobacco Co. v. Cigarettes Cheaper!, 462

F.3d 690, 696-98 (7th Cir. 2006) (affirming dismissal of manufacturer-retailers vertical conspiracy

antitrust claim where there was no horizontal agreement among the retailers). Without a horizontal

agreement (a “rim”) connecting the Distributors (the “spokes”), the single “vertical conspiracy”

Plaintiffs allege simply cannot exist. Because Plaintiffs do not even purport to allege any such

horizontal agreement—deliberately and repeatedly alleging only a “vertical conspiracy”—their

claim is doomed from its inception. What remains in the Complaint is a series of individual

bilateral agreements. But Plaintiffs do not directly challenge any of these individual, routine

agreements (nor could they), resting instead on a single unified conspiracy claim. For that

additional and independent reason, the Complaint should be dismissed.

       In sum, the few, well-pled factual allegations of the Complaint concerning the Distributors

establish that Plaintiffs cannot assert a viable antitrust claim against them. The Complaint should

be dismissed with prejudice under Federal Rule of Civil Procedure 12(b)(6). 2




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       The Distributors join in full the arguments for dismissal made in the concurrently filed
motions to dismiss of BD and the GPOs, which provide independent grounds for dismissal. The
Distributors do not repeat those arguments in this brief.


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               THE AMENDED COMPLAINT’S FACTUAL ALLEGATIONS

       With respect to the few well-pled factual allegations regarding the Distributors, the

Complaint boils down rather simply:

       •   Healthcare providers, such as Plaintiffs, choose whether or not to buy syringes and
           catheters from BD. They buy these products under contracts and at prices they or their
           GPOs negotiate with BD. Compl. ¶¶ 2, 30. Sometimes these contracts have “sole or
           dual source provisions.” Id. ¶ 42. Under some contracts, when a provider buys a
           sufficient volume of BD products, it is rewarded with “cost savings . . . realized through
           an end-of-year rebate” on its purchases. Id. ¶ 43.

       •   The Distributors do not play any role in negotiating the prices or volumes or rebates
           for BD products. The plaintiff providers simply pick whichever distributor they choose
           to “deliver Becton’s products.” Id. ¶ 44. The Distributors then purchase and resell the
           products to the providers at the prices and terms the providers negotiated on their own
           or through their GPOs. Distributors also keep track of product volumes purchased to
           ensure that providers that meet the volume targets get their contracted-for rebates. Id.
           ¶¶ 44-45.

       •   The Distributors here—like distributors generally—charge a “percentage markup” on
           the products sold to account for the sales distribution services they have provided. Id.
           ¶ 31. BD sometimes requires Distributors to promote its products “as the preferred
           brand” and rewards Distributor salespeople who do a good job selling its products with
           “extra commissions.” Id. ¶ 46.

In sum and substance, those are the entirety of the well-pled factual allegations of the Complaint

pertaining to the Distributors and their dealings with Plaintiffs.

       Plaintiffs do not allege:

       •   Any facts suggesting a horizontal agreement among the Distributors with respect to
           any of the relevant conduct that is the subject of the Complaint. For instance, there are
           no allegations that the Distributors conspired regarding sourcing, pricing/markup, or
           anything at all with respect to the sale and distribution of BD (or any other) products.

       •   Any facts showing that any provider was required to buy BD products as opposed to
           any other brand. Nor do they allege that Plaintiffs were required to purchase through
           any GPO or from any Distributor, let alone through a particular GPO or Distributor.

       •   Any facts showing that providers have no viable alternatives to BD’s products, or
           avenues to procure them. To the contrary, Plaintiffs acknowledge that there were
           numerous competitive alternative sources available to them, comprising 40% or more
           of the relevant product markets, who allegedly offer lower prices than BD. Id. ¶¶ 33,
           39.

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                                           ARGUMENT

I.     PLAINTIFFS’ CONSPIRACY THEORY FAILS TO ALLEGE EITHER
       REQUIRED ELEMENTS OR A LEGALLY COGNIZABLE CLAIM.

       Plaintiffs allege a single claim under Section 1 of the Sherman Act, 15 U.S.C. § 1. Plaintiffs

fail to state such a claim as a matter of law.

       A.      Applicable Antitrust Pleading Standards.

       To join an antitrust conspiracy, a defendant must have had “a conscious commitment to a

common scheme designed to achieve an unlawful objective.”             Monsanto, 465 U.S. at 768

(emphasis added). To plead such a “conscious commitment,” Twombly requires a complaint to

plead “enough factual matter (taken as true) to suggest that an [unlawful] agreement was made”

and to “render a § 1 conspiracy plausible.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

In assessing a complaint’s allegations, “facts that could just as easily suggest rational, legal

business behavior by the defendants as they could suggest an illegal conspiracy are insufficient to

plead a violation of the antitrust laws.” Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1049 (9th Cir.

2008) (citing Twombly, 550 U.S. at 553-58, 557 n.5).

       Dressing up a complaint with antitrust buzzwords or jargon is no substitute for concrete

factual allegations that outline a plausible conspiracy. A “plaintiff’s obligation to provide the

grounds of his entitlement to relief requires more than labels and conclusions.” Twombly, 550

U.S. at 555 (quotation and brackets omitted). Thus, “invocation of antitrust terms of art does not

confer immunity from a motion to dismiss; to the contrary, these conclusory statements must be

accompanied by supporting factual allegations.” Car Carriers, Inc. v. Ford Motor Co., 745 F.2d

1101, 1110 (7th Cir. 1984) (cited in Twombly, 550 U.S. at 558, 562); see also Banks v. NCAA, 977

F.2d 1081, 1093-94 (7th Cir. 1992) (affirming dismissal where “at best [the plaintiff] has merely

attempted to frame his complaint in antitrust language”). Accordingly, in reviewing Plaintiffs’


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Complaint here, the Court should disregard conclusory allegations of “anticompetitive” conduct,

“vertical conspiracy,” “exclusionary” contracts, “penalty pricing,” and the like, and focus only on

the actual factual allegations. W. Bend Mut. Ins. Co. v. Schumacher, 844 F.3d 670, 675 (7th Cir.

2016) (holding that a court should evaluate a complaint’s factual allegations only after

“disregard[ing] any portions that are no more than conclusions”) (quotation omitted).

       B.      The Amended Complaint Fails to Allege The Distributors’ Conscious
               Commitment to an Unlawful Scheme Because All Plaintiffs Allege Is a
               Common Distribution Arrangement.

       The Complaint contains no factual allegations showing how it is plausible that any

Distributor had the required “conscious commitment” to an unlawful scheme to support Plaintiffs’

claim. Monsanto, 465 U.S. at 768; see also Twombly, 550 U.S. at 570; Marucci Sports, L.L.C. v.

NCAA, 751 F.3d 368, 374-75 (5th Cir. 2014) (affirming dismissal of complaint where the

plaintiff’s “allegations do not make it plausible that [the defendants] adopted a conscious

commitment to a common scheme designed to achieve an unlawful objective”); Rocha v. FedEx

Corp., 15 F. Supp. 3d 796, 809 (N.D. Ill. 2014) (“Plaintiffs must allege facts that, if true,

demonstrate that the conspirators had a conscious commitment to a common scheme designed to

achieve an unlawful objective. The Court was unable to locate any such facts within the complaint

. . . .”) (quotations and citations omitted). The Complaint simply alleges that BD has entered into

an agreement with each defendant that has benefits to each party to the agreement. 3 Such routine,

legitimate contracting is insufficient as a matter of law to support a conspiracy claim and withstand

a motion to dismiss. Stewart Glass & Mirror, Inc. v. U.S. Auto Glass Disc. Ctrs., Inc., 200 F.3d

307, 313 (5th Cir. 2000) (declining to infer an antitrust conspiracy “based solely upon the existence


   3
        Plaintiffs must not only make plausible allegations of a conscious commitment to a scheme,
but they must do so individually for each defendant. “A complaint must set forth what each person
(or corporation) is accused of doing.” Chamberlain Grp., Inc. v. Techtronic Indus. N. Am., Inc.,
2017 WL 4269005, at *3 (N.D. Ill. Sept. 26, 2017).

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of contracts”); see also Kendall, 518 F.3d at 1049. And Plaintiffs’ repeated invocations of terms

such as “vertical conspiracy” and “anticompetitive” are insufficient. Tamburo v. Dworkin, 601

F.3d 693, 699 (7th Cir. 2010) (affirming a Rule 12 dismissal and stating, “Tamburo’s antitrust

claims are pleaded in a wholly conclusory fashion; as such, it is hard to tell what kind of antitrust

violation he is trying to assert”); Goodloe v. Nat’l Wholesale Co., Inc., 2004 WL 1631728, at *8

(N.D. Ill. July 19, 2004) (dismissing Section 1 claim where “Plaintiff adorns his § 1 claim with

antitrust terminology—‘contract,’ ‘combination,’ and ‘conspiracy,’ for example—yet omits

factual allegations that would even minimally support a § 1 claim”).

       Stripped of such antitrust jargon and conclusory allegations, the Complaint merely alleges

that Distributors deliver products to providers pursuant to the terms of the contracts that GPOs and

providers negotiate with BD. Plaintiffs thus concede that the Distributors play no role in setting

the terms of the contracts under which Plaintiffs may have purchased BD products. More

specifically, the Complaint alleges that BD negotiates contracts with GPOs called Net Dealer

Contracts. Compl. ¶ 42. Those contracts “control the pricing and other terms under which

healthcare providers, which are members of the GPOs, buy Becton products,” and “often contain

a penalty pricing rebate scheme” and “sole” or “dual” sourcing provisions. Id. Plaintiffs claim

these Net Dealer Contracts are anticompetitive because they allegedly discourage providers from

using non-BD products. Id. ¶¶ 42-43. Plaintiffs further allege that only after BD and the GPO

negotiate a Net Dealer Contract, and only after a provider elects to purchase under that contract

and chooses which Distributor to use, do the Distributors separately contract with BD and the

relevant provider to distribute BD’s products pursuant to the terms that BD and the GPO agreed. 4



   4
        See Compl. ¶ 44 (alleging that the provider-distributor contracts “typically require that
distributors enforce the requirement that the healthcare providers buy a certain volume of Becton
products or else pay the penalty pricing set forth in the Net Dealer Contract”); id. ¶ 45 (in Becton-

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         As noted above, another federal district court already rejected, as a matter of law and at the

motion to dismiss stage, a theory of “vertical conspiracy” based on those contracts, similar to the

one that Plaintiffs pursue here. See Glynn-Brunswick, 159 F. Supp. 3d at 1374-75. One reason

that the court in Glynn-Brunswick declined to infer any conspiracy was the lack of any allegation

that the distributors conspired with BD to set prices to providers “or to otherwise construct the

allegedly exclusionary schemes.” Id. at 1375. The court there found it notable that the complaint

alleged only that (1) BD negotiated with the GPOs as to the prices paid by its members and other

terms of sale; and (2) only after a provider notified BD of its intent to buy pursuant to the GPO-

negotiated contract and the provider had selected a particular distributor, did BD then contract with

that distributor directly. Id. And even then, the court observed, BD and the distributor did not

negotiate terms of the sale; rather, they merely “enter[ed] into a dealer notification agreement

defining their relationship pursuant to the terms of the net dealer contract [between BD and the

GPO]—incorporating the pricing, rebate-bundling, penalty, and sole-source provisions

therein.” Id.; see Compl. ¶¶ 44-45. Given that fact, the complaint in Glynn-Brunswick

demonstrated “that the contracts linking Defendant, the distributor, and the provider are essentially

negotiated between Defendant and the GPO, not the distributor.” 159 F. Supp. 3d at 1376. That

is exactly what Plaintiffs allege here, and their Complaint should suffer the same fate. Compl. ¶¶

42-45.

         In hopes of satisfying the “conscious commitment” requirement, Plaintiffs continuously

refer to a vague, overarching “vertical conspiracy.” But they offer no factual allegations about

what that hypothesized conspiracy entails. See Twombly, 550 U.S. at 565 n.10 (noting that it was




distributor contracts, “distributors agree to distribute Becton’s products to healthcare providers
pursuant to the Net Dealer Contract’s anticompetitive terms.”).

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doubtful the complaint “would have given the notice required by Rule 8” where “the pleadings

mentioned no specific time, place, or person involved in the alleged conspiracies”). Rather,

Plaintiffs have “pleaded [their claim] in a wholly conclusory fashion.” Tamburo, 601 F.3d at 699.

Plaintiffs’ repeated use of conclusory and inflammatory labels—including “vertical conspiracy,”

“anticompetitive acts,” “web of contracts,” “restraint of trade,” and “exclusionary contracts”—

does not suffice. Car Carriers, 745 F.2d at 1110.

       Plaintiffs are instead required to allege, and ultimately prove, a “conscious commitment to

a common scheme” and a “unity of purpose or a common design and understanding, or a meeting

of minds in an unlawful arrangement.” In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig.,

801 F.3d 758, 762-63 (7th Cir. 2015) . Doing so requires facts, not labels, yet all Plaintiffs muster

are labels. Indeed, they allege only that the Defendants “have entered into a vertical combination

or conspiracy in restraint of trade.” Compl. ¶ 89. But this is just a “formulaic recitation” of a

Section 1 element, which fails to state a claim. Twombly, 550 U.S. at 555; see Bucks v. Mr. Bults

Inc., 218 F. Supp. 3d 776, 779 (S.D. Ill. 2016) (Rosenstengel, J.) (granting motion to dismiss where

the plaintiff’s “‘[t]hreadbare recitals’” of the elements of the alleged claims were not supported by

sufficient factual allegations (quoting Ashcroft v. Iqbal, 556 U.S 662, 678 (2009)).

       The reason Plaintiffs have not alleged more is that they cannot. That is because all the

Complaint alleges—and all Plaintiffs can allege—is that the Distributors honor the contracting

terms the GPOs, providers, and BD independently negotiate.            Simply distributing products

pursuant to those terms cannot reflect any “conscious commitment” to an unlawful antitrust

conspiracy. Imagine, for example, that under the facts alleged the Distributors did not exist and

BD self-distributed its products to healthcare providers. In that situation, nothing competitively

significant to the terms BD allegedly imposes on providers would change. By virtue of its alleged



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market power in the syringe and catheter markets, BD would still be able to insist upon the same

sole/dual sourcing and price discounts about which Plaintiffs complain. See VBR Tours, LLC v.

Nat’l R.R. Passenger Corp., 2015 WL 5693735, at *13 (N.D. Ill. Sept. 28, 2015) (holding that a

party with market power over a product cannot enhance that power through how it uses distributors

to sell the product). 5

        Under Plaintiffs’ own pleading, the Distributors are simply unnecessary to further the

supposed conspiracy Plaintiffs attack. Constrained by this economic reality, Plaintiffs must allege

(as they do) that BD, and not the Distributors, has insisted on the terms that Plaintiffs challenge as

anticompetitive. See Compl. ¶ 3 (“In this case, Becton, a manufacturer of devices and supplies,

has . . . require[d] the use of oppressive, anti-competitive contracts that effectively force

above-competitive prices on the market.”). And, as Glynn-Brunswick noted, the fact that it is BD

who insists on the challenged contract terms undercuts any conclusion that the Distributors joined

an unlawful conspiracy simply by agreeing to distribute BD’s products. 159 F. Supp. 3d at 1376.

        The plaintiffs in Glynn-Brunswick attempted (unsuccessfully) to conjure a conspiratorial

motivation for the distributors by characterizing the distributors’ relationships with BD as

“mutually beneficial collusion” because the distributors receive a percentage of sales as

compensation for their services.        Id.   Likewise, Plaintiffs here make allegations about

unremarkable aspects of the Distributors’ relationships with other Defendants, including: the

Distributors receive a mark-up and commissions for their sales services; the Distributors have



    5
         See also E&L Consulting, Ltd. v. Doman Indus. Ltd., 472 F.3d 23, 29, 30 (2d Cir. 2006)
(noting that if an alleged monopolist terminated its distributors and “established its own in-house
distribution system with the same monopoly that [the monopolist] is alleged to possess, there
would have been no” additional anticompetitive effects “because the alleged single source and
price increase, even if monopolistic, is something [the monopolist] can achieve without the aid of
a distributor”).


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agreed to market BD as their “preferred” brand; and the Distributors make payments to GPOs if

providers hit their sales volume targets set forth in the Net Dealer Contract negotiated by BD and

the GPO. Compl. ¶¶ 45-46. But Plaintiffs identify nothing about any of these practices that might

“suggest that an [unlawful] agreement was made.” Twombly, 550 U.S. at 556.

       As the court in Glynn-Brunswick explained, every distributor “whose resale price is

calculated on a cost-plus basis is in a position to profit from an increase in the cost of the good,”

and therefore, the mere fact that the distributor so benefits “does not, by itself, suggest that the

intermediary engaged in anticompetitive behavior to influence such cost in its favor.” 159 F. Supp.

3d at 1376. The same is true of Plaintiffs’ allegations that the Distributors may make additional

cash payments to the GPOs if the providers meet the volume targets in the BD-GPO contracts and

the supposed requirement that the Distributors market BD as their “preferred” brand. Compl. ¶¶

45-46. Glynn-Brunswick squarely held that such additional terms do not support an argument that

the Distributors joined a conspiracy with BD. See 159 F. Supp. 3d at 1376 n.9. The court there

further discounted any benefit to Distributors from higher BD prices because those prices could

also harm a distributor by reducing the quantity demanded of those products, resulting in a loss of

sales to the distributor, id. at 1377, who “warehouse[s] these fungible products in their inventory

without knowing whether any will be the subject of a contract sale,” In re Hypodermic Prods.

Antitrust Litig., 484 F. App’x 669, 675 n.9 (3d Cir. 2012). In sum, “the Court [could not] find that

the potentially beneficial prospects of the distribution agreements alone support an inference that

the distributors were motivated to maintain Defendant’s monopoly power.” Glynn-Brunswick,

159 F. Supp. 3d at 1377. The same conclusion is required here.

       In sum, the facts the Complaint does allege do not plausibly show that the Distributors had

a conscious commitment to any unlawful scheme. All the Complaint alleges is that each



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Distributor independently decided to distribute BD’s products, pursuant to terms Plaintiffs and

other providers, often through GPOs, negotiated. See Twombly, 550 U.S. at 554 (citing Monsanto,

465 U.S. 752); id. at 556 (“In identifying facts that are suggestive enough to render a § 1 conspiracy

plausible, we have the benefit of the prior rulings . . . that lawful parallel conduct fails to bespeak

unlawful agreement.”). Further, the Complaint is plagued by fatal contradictions. On the one

hand, the Complaint alleges that the contracts of which Plaintiffs complain harm competition

because if providers switch to a supplier other than BD, they lose certain discounts. Compl.

¶¶ 41-43. But the Complaint elsewhere admits that the prices that providers, including Plaintiffs,

pay for BD products are substantially higher than its competitors, and Plaintiffs claim that at least

some competitors’ products are safer. Id. ¶¶ 33-39, 61. In other words, the Complaint

irreconcilably posits “harm” to providers if they are unable to get certain discounts and so must

switch to other suppliers—whom the Complaint alleges offer lower prices and safer products than

BD. Id. ¶¶ 39, 61. Such an implausible, incoherent theory renders the Complaint fatally defective,

and renders it implausible Distributors would join such a conspiracy. See Twombly, 550 U.S. at

570.

       C.      Plaintiffs’ Claim of a Single Rimless-Wheel Conspiracy is Not a Viable Legal
               Theory.

       It is no surprise that Plaintiffs do not and cannot put forth plausible allegations supporting

a conspiracy: the only reason they named the Distributors and GPOs and posit their non-existent

single “vertical conspiracy” is to contrive a solution to the standing problems that plagued the

complaints in Glynn-Brunswick and similar cases. See Hypodermic Prods., 484 F. App’x at 675,

675 n.9 (holding, in a case involving BD, that the Distributors are “the direct purchasers in contract

sales” to healthcare providers, would be the first party to bear any alleged overcharge, and so are

the appropriate plaintiffs in any suit against BD). But the effort fails on the face of the Complaint


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because the conspiracy claim as alleged is not cognizable as a matter of law in the absence of a

horizontal agreement among the Distributors, which Plaintiffs do not and cannot plead.

       The Complaint alleges that BD’s individual contracts with each of the other Distributors

(and GPOs) make up a “web” of contracts that somehow constitute a single conspiracy. Compl.

¶¶ 2, 47.   A conspiracy among a dominant manufacturer and its dealers (or other market

participants at different levels of the distribution chain) is often referred to as a hub-and-spoke

conspiracy in antitrust cases. See Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d

237, 254-55 (3d Cir. 2010). 6 The characteristics of a hub-and-spoke conspiracy are: “(1) a hub,

such as a dominant purchaser; (2) spokes, such as competing manufacturers or distributors that

enter into vertical agreements with the hub; and (3) the rim of the wheel, which consists of

horizontal agreements among the spokes.” In re Musical Instruments & Equip. Antitrust Litig.,

798 F.3d 1186, 1192 (9th Cir. 2015).

       The problem for Plaintiffs, however, is that a hub-and-spoke conspiracy is not a single

conspiracy as a matter of law unless the spokes of the wheel have conspired with each other—that

is, the “wheel” must have a “rim.” Even if Plaintiffs have alleged a “hub” (BD) and “spokes”

(distributors or GPOs), they have not alleged any sort of agreement among the Distributors or

among the GPOs—in other words, they do not allege any rim. And without a “rim,” there is no

single conspiracy. See, e.g., Kotteakos v. United States, 328 U.S. 750, 755 (1946) (holding that

“without the rim of the wheel to enclose the spokes . . . [t]he proof . . . made out a case, not of a



   6
       Accord Total Benefits Planning Agency, Inc. v. Anthem Blue Cross & Blue Shield, 552 F.3d
430, 435 n.3 (6th Cir. 2008); In re Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186,
1192 (9th Cir. 2015); see also Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 932 (7th Cir. 2000)
(recognizing hub-and-spoke conspiracy, without using the term, in which Toys “R” Us
“orchestrated a horizontal agreement” between toy manufacturers that each agreed to join a group
boycott of discount clubs only on the understanding that their competitors would do the same).


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single conspiracy, but of several”); United States v. Orlando, 819 F.3d 1016, 1022 (7th Cir. 2016)

(“[T]o prove a single conspiracy in the hub-and-spoke context, the government must show that ‘a

rim connects the spokes together, for otherwise the conspiracy is not one but many.’ The ‘rim’ is

an agreement to further a single design or purpose.’” (citation, brackets, and ellipses omitted));

Bustamante, 493 F.3d at 885 (“For a hub and spoke conspiracy to function as a single unit, a rim

must connect the spokes together, for otherwise the conspiracy is not one but many.”). Federal

and state courts throughout the country apply this basic tenet of conspiracy law both inside the

antitrust context 7 and outside of it. 8

        Plaintiffs here do not even purport to allege any kind of agreement—a “rim”—among the

Distributors or the GPOs. There is not a single factual allegation suggesting any such agreement.

To the contrary, the Complaint repeatedly and consistently characterizes the alleged violation as a

“vertical conspiracy,” effectively conceding that no horizontal agreement is alleged, much less

exists. See Compl. ¶¶ 4, 54, 64, 71, 78, 84; see also id. ¶¶ 89-90 (pleading “a vertical combination

or conspiracy in restraint of trade”). That Plaintiffs have disclaimed the notion of any horizontal


    7
      Musical Instruments, 798 F.3d at 1192 n.3 (“The extension of the wheel metaphor here may
mislead: a rimless hub-and-spoke conspiracy is not a hub-and-spoke conspiracy at all (for what is
a wheel without a rim?); it is a collection of purely vertical agreements.”); In re K-Dur Antitrust
Litig., 2016 WL 755623, at *18 (D.N.J. Feb. 25, 2016) (“For a single conspiracy to exist, a ‘rim’
must connect the spokes . . . .”); see infra pp. 15-16.
    8
      Kotteakos, 328 U.S. at 755; Orlando, 819 F.3d at 1022; Bustamante, 493 F.3d at 885; United
States v. Swafford, 512 F.3d 833, 842 (6th Cir. 2008) (“As the Supreme Court described in
Kotteakos, ‘without the rim of the wheel to enclose the spokes,’ a single, wheel conspiracy cannot
exist but instead is a series of multiple conspiracies between the common defendant and each of
the other defendants.” (citation omitted)); United States v. Chandler, 388 F.3d 796, 807 (11th Cir.
2004) (“Thus, where the ‘spokes’ of a conspiracy have no knowledge of or connection with any
other, dealing independently with the hub conspirator, there is not a single conspiracy, but rather
as many conspiracies as there are spokes.”); United States v. Ulbricht, 31 F. Supp. 3d 540, 554
(S.D.N.Y. 2014) (“In the absence of such a ‘rim,’ the spokes are acting independently with the
hub; while there may be in fact multiple separate conspiracies, there cannot be a single
conspiracy.”).


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agreement is further evidenced by the fact that they plead their single “vertical conspiracy” claim

for relief to be evaluated under the rule of reason. 9 See Compl. ¶¶ 24-28 (alleging relevant

markets); ¶¶ 32-39 (alleging combined market power); ¶¶ 89-92 (alleging that anticompetitive

effects are not offset by procompetitive justifications).

        Where plaintiffs have attempted to plead single, multi-level conspiracies without a rim—

or tried to allege a rim but lacked facts to plausibly do so—courts have properly dismissed those

claims on Rule 12 motions. See, e.g., Howard Hess, 602 F.3d at 255 (affirming Rule 12 dismissal

of an alleged hub-and-spoke conspiracy where “the amended complaint lacks any allegation of an

agreement among the Dealers themselves”); Dickson v. Microsoft Corp., 309 F.3d 193, 203-04

(4th Cir. 2002) (affirming dismissal and explaining, “[W]e agree with the district court that [the

plaintiff’s] attempt in its FAC to plead a single, rimless wheel conspiracy between the OEM

Defendants and Microsoft must be rejected. . .” because “a wheel without a rim is not a single

conspiracy.”); PSKS, Inc. v. Leegin Creative Leather Prods., Inc., 615 F.3d 412, 420 (5th Cir.

2010) (“In the absence of an assertion that retailers agreed to [resale price maintenance] among

themselves, there is no wheel and therefore no hub-and-spoke conspiracy, and that allegation was

therefore properly dismissed.”). 10 Here, it is not a question of whether Plaintiffs have alleged a



   9
      “The rule of reason requires courts to conduct a fact-specific assessment of ‘market power
and market structure to assess the restraint’s actual effect’ on competition.’” Ohio v. Am. Express
Co., 138 S. Ct. 2274, 2284 (2018) (citation, brackets, and ellipses omitted). The Supreme Court
just recently noted that “[v]ertical restraints often pose no risk to competition unless the entity
imposing them has market power, which cannot be evaluated unless the Court first defines the
relevant market.” Id. at 2285 n.7.
   10
       See also R.J. Reynolds, 462 F.3d at 696-98 (affirming summary judgment on an alleged
hub-and-spoke conspiracy claim where there was insufficient evidence to “infer that there was any
horizontal agreement” among the dealer defendants (the spokes)); cf. Toys “R” Us, 221 F.3d at
935-36 (unlawful conspiracy found only because of evidence of a horizontal agreement at the
manufacturer level).


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plausible agreement among the Distributors or GPOs because, as discussed above, they have

affirmatively foregone any suggestion of any horizontal agreement, plausible or not. Dismissal

therefore is warranted.

       Given their failure to allege any horizontal agreement, Plaintiffs are left effectively alleging

what is sometimes called a legally defective rimless-wheel conspiracy. Such a conspiracy is “one

in which various defendants enter into separate agreements with a common defendant, but where

the defendants have no connection with one another, other than the common defendant’s

involvement in each transaction.” Dickson, 309 F.3d at 203. Though they attempt to hide the fact

with the repeated “vertical conspiracy” label, that is precisely what Plaintiffs have alleged: each

distributor and each GPO is alleged to have separate agreements with BD, but are not alleged to

have any connection to one another beyond a common involvement with BD. As “the Supreme

Court [has] made clear [however], a rimless wheel conspiracy is not a single, general conspiracy

but instead amounts to multiple conspiracies between the common defendant and each of the other

defendants.” Id. But Plaintiffs have neither alleged multiple conspiracies nor challenged the

individual agreements; they have alleged an improper “single, general” conspiracy. Id.; see, e.g.,

Compl. ¶¶ 1, 4, 6, 7, 84, 89, 90, 92 (referring to the alleged conspiracy in the singular).

       The Court’s analysis should end here. A “vertical conspiracy” like the one Plaintiffs

allege—that involves multiple vertical agreements with no allegations of agreement between the

horizontally-situated Defendants—is not a single “conspiracy.” Because the only claim Plaintiffs

have alleged is premised on the existence of a single conspiracy, the Complaint should be

dismissed for failing to allege a cognizable legal theory.

       To the extent Plaintiffs improperly seek to argue in their opposition what they do not allege

in their Complaint—i.e., that they are in fact challenging some (or all) of the individual vertical



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agreements referenced in their Complaint—their argument should go the way of the plaintiffs’ in

Howard Hess. There, the plaintiffs tried and failed to allege a hub-and-spoke conspiracy, and in

trying to “hedge their bets,” argued that they had “adequately alleged several bilateral, vertical

conspiracies.” 602 F.3d at 256. The Third Circuit quickly dispensed with this argument, declining

to even consider it where “the amended complaint cannot be fairly understood to allege the

existence of several unconnected, bilateral, vertical conspiracies between Dentsply and each

Dealer.” Id. No reasonable reading of the Complaint suggests that Plaintiffs are challenging the

separate vertical agreements here. Plaintiffs unambiguously plead their claim is premised on the

existence of a singular vertical conspiracy. See Compl. ¶¶ 89, 90, 92. Their Complaint therefore

must be dismissed.

II.    BECAUSE PLAINTIFFS DO NOT ALLEGE THAT THEY PURCHASED
       PRODUCTS FROM CHI OR O&M, THEY CANNOT ALLEGE THE
       PROXIMATE CAUSE NECESSARY TO SUSTAIN AN ANTITRUST CASE
       AGAINST EITHER OF THEM.

       As explained above, because Plaintiffs have not alleged a horizontal conspiracy, they must

plead facts sufficient to plausibly allege that each vertical agreement with each defendant is

unlawful. Thus, there is an additional reason that the Complaint against CHI and O&M should be

dismissed: none of the Plaintiffs purchased anything from either of these distributors so none of

the alleged harm about which Plaintiffs complain can be traced to anything that either CHI or

O&M have done. Because Plaintiffs have not pled the requisite proximate cause, the Complaint

against CHI and O&M warrants dismissal for this independently sufficient reason as well. See

GPO Br. § II.




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                                        CONCLUSION

       For the foregoing reasons, the Distributors respectfully request that the Court grant their

Motion and dismiss the Complaint with prejudice under Federal Rule of Civil Procedure 12(b)(6).




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                                            Respectfully submitted,


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 Dated: July 20, 2018




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                              CERTIFICATE OF SERVICE

       I, Richard L. Stone, an attorney, certify that on July 20, 2018, I caused The Distributor

Defendants’ Motion to Dismiss and Memorandum in Support to be served on all counsel of

record listed via the Court’s ECF system.




                                              /s/ Richard L. Stone




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